         Case 2:22-ap-01125-DS                    Doc 324 Filed 07/09/25 Entered 07/09/25 09:59:02                                       Desc
                                                    Main Document Page 1 of 1

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                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA LOS ANGELES DIVISION

 In re                                                                       CASE NO.: 2:21-bk-18205-DS
 CRESTLLOYD, LLC,                                                            CHAPTER: 11
             Debtor.                                                         ADVERSARY NO. 2:22-ap-01125-DS
 INFERNO INVESTMENT, INC.,
             Plaintiff,                                                          ORDER ON AMENDED APPLICATION OF
       vs.                                                                       NON-RESIDENT ATTORNEY TO APPEAR
 CRESTLLOYD, LLC, et al.,                                                                  PRO HAC VICE
             Defendants.                                                                  [LBRs 2090-1(b) and 9013-1(q)]
 AND RELATED COUNTERCLAIM, CROSS-CLAIM, AND
 THIRD-PARTY ACTIONS.                                                                  [No hearing required per LBR 2090-1(b)(6)]

The court reviewed the Application of non-resident attorney to appear pro hac vice in a specific bankruptcy case and/or
adversary proceeding(s). For good cause appearing, IT IS ORDERED: the Application is GRANTED and non-resident
attorney (specify name): Beth E. Levine may appear on behalf of the following party Yogi Securities Holdings, LLC
in any proceeding in the bankruptcy case, any jointly administered or substantively consolidated case, and any adversary
proceedings filed in such cases, unless the representation is limited as follows: None.

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                 Date: July 9, 2025




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

October 2024                                                                                                F 2090-1.2.ORDER.NONRES.ATTY
4936-5597-0642.1 96887.00001
